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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

               Plaintiff,
                                                      Case No. 21 Civ. - - -
                       V.

                                                      COMPLAINT
 WELLS FARGO BANK, N.A.,

               Defendant.




       Plaintiff the United States of America, by its attorney, Audrey Strauss, United States

Attorney for the Southern District of New York, alleges upon information and belief as follows:


                                      INTRODUCTION


       1.     This is a civil fraud action brought by the United States under the Financial

Institutions Reform, Recovery and Enforcement Act ("FIRREA"), 18 U.S.C. § 1833a, to recover

civil monetary penalties from defendant Wells Fargo Bank N.A. ("Defendant," "Wells Fargo" or

the "Bank") for fraudulently overcharging hundreds of its commercial customers who used the

Bank's foreign exchange ("FX") services.
       2.      Specifically, from 2010 through 2017 (the "Covered Period"), Wells Fargo

defrauded 771 of its commercial customers (referred to herein as "the Customers") who used the

Bank's FX services-many of them small or medium-sized businesses or federally-insured

financial institutions-in violation of the mail fraud, wire fraud, and bank fraud statutes, 18

U.S.C. §§ 1341, 1343, 1344, by (i) falsely representing to the Customers that the Bank would

charge and/or was charging certain fixed FX spreads or sales margins on the Customers' FX

transactions with the Bank (which the Bank sometimes referred to internally as "fixed-pricing

agreements"), (ii) financially incentivizing its FX sales specialists to overcharge the Customers

while failing to take steps to ensure that FX sales specialists would comply or were complying

with fixed-pricing agreements, and (iii) systematically charging the Customers higher FX

spreads or sales margins than Wells Fargo represented it would charge and/or was charging in

fixed-pricing agreements or otherwise, while concealing the overcharges from the Customers.

       3.      Through this brazen and wide-ranging fraud, Wells Fargo was able to secretly

obtain tens of millions of dollars from the Customers to which the Bank was not entitled.

                                            PARTIES

       4.      Plaintiff is the United States of America.

       5.      Defendant Wells Fargo is a federally-insured financial institution with

headquarters located in Sioux Falls, South Dakota.

                                JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 and 12 U.S.C. § 1833a.

       7.      Venue is proper in the Southern District of New York under 28 U.S.C. §§

139l(b)(l) and (b)(2) because Defendant conducts business within this District and because a




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substantial part of the events and omissions alleged in this Complaint occurred within this

District.

                                         BACKGROUND

        A.     FIRREA

        8.     In 1989, Congress enacted FIRREA as part of a comprehensive legislative plan to

reform and strengthen the federal deposit insurance system. Pursuant to FIRREA, the United

States can recover civil penalties from persons who "violate any provision of law to which this

section is made applicable." 12 U.S.C. § 1833a(a) - (b). Further, if a defendant "derives

pecuniary gain from the violation, or if the violation results in pecuniary loss" to a person other

than the defendant, FIRREA authorizes the United States to recover civil penalties in an amount

equal to the amount of gain or loss. Id. § l 833a(b)(3)(A).

        9.     As relevant to this action, FIRREA authorizes the United States to recover civil

penalties for violations of, or conspiracies to violate, three provisions of Title 18 of the United

States Code:

               •       18 U.S.C. § 1341 (Mail Fraud Affecting a Financial Institution): which
               proscribes the use of "the Postal Service, or . . . private or commercial
               interstate carrier" for the purpose of executing, or attempting to execute, "[a]
               scheme or artifice to defraud, or for obtaining money or property by means of
               false or fraudulentpretenses, representations, or promises ... ";

               •       18 U.S.C. § 1343 (Wire Fraud Affecting a Financial Institution): which
               proscribes the use of "wire . . . in interstate or foreign commerce" for the
               purpose of executing, or attempting to execute, "[a] scheme or artifice to
               defraud, or for obtaining money or property by means of false or fraudulent
               pretenses, representations, or promises ... "; and

               •        18 U.S.C. § 1344 (Bank Fraud): which proscribes the "knowing
               execut[ion of] or attempt[ed] ... execute[ion of] a scheme or artifice-(!) to
               defraud a financial institution; or (2) to obtain any of the moneys, funds,
               credits, assets, securities, or other property owned by, or under the custody or
               control of, a financial institution, by means of false or fraudulent pretenses,
               representations, or promises".



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        B.     Wells Fargo's FX Business

        10.    Wells Fargo offers, among other financial products and services, FX services to

commercial customers located throughout the United States, including customers located in the

Southern District of New York.

        11.    During the Covered Period, Wells Fargo offered FX services to its customers,

many of which were small or medium-sized businesses or federally-insured financial institutions

located throughout the United States. For example, when customers needed to send wire

transfers overseas, Wells Fargo would convert the customers' U.S. dollars into foreign currency.

Likewise, when customers received wire transfers from overseas, Wells Fargo would convert

foreign currency into U.S. dollars.

        12.    Wells Fargo profited from conducting FX transactions with its customers by

marking up the prices on currency it was selling and marking down the prices on currency it was

buying from customers for their outgoing and incoming wire transfers. For example, Wells

Fargo might add a 0.5% (or 50 basis points) mark-up to the rate at which a particular currency

was trading at the time of the transaction. Wells Fargo employees referred internally to this

currency mark-up as a "spread" or "sales margin."

       13.     Wells Fargo frequently made representations to customers about the way the

Bank would price or was pricing their FX transactions. Pursuant to such representations,

sometimes referred to internally by Wells Fargo employees as fixed-pricing agreements, Wells

Fargo's FX sales specialists stated to customers that the Bank would charge or was charging

specific spreads or sales margins on their FX transactions. In some cases, the FX spread would

be fixed for all of the customer's transactions. In other cases, the FX spread varied based on,

inter alia, the currency pair, transaction type, or the amount of currency being exchanged.



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Regardless, the Bank advised customers that it would not impose or was not imposing higher

spreads or sales margins than what was represented to customers.

        14.    Many of these fixed-pricing agreements were memorialized in writing, typically

via email. Other such agreements were oral in nature, where the FX sales specialist represented

to a customer that the Bank would charge a particular fixed spread. During the Covered Period,

Wells Fargo entered into fixed-pricing agreements with hundreds of its customers.

        15.    Wells Fargo's FX sales specialists frequently recorded the terms of these fixed-

pricing agreements on an internal system called the Customer Management Reporting database

or "CMR." This database served as a repository of notes about FX customers and was accessible

to Wells Fargo FX employees and supervisors to determine how the Bank should price a given

customer's FX transactions. CMR notes sometimes included excerpts of emails between

customers and the Bank establishing the fixed-pricing agreement. Other CMR notes simply

described the terms of a fixed-pricing agreement between the Bank and the customer.

        16.    Many of Wells Fargo's customers used the Bank's online FX trading systems to

exchange currency for outgoing wire transfers. Two of the online FX trading platforms that

Wells Fargo offered to customers were "FX Online," or "FXOL," and the "Commercial

Electronic Office Wires" or "CEO Wires". The FXOL and CEO Wires services operated in a

similar way. On each platform, the customer could login, make a request to exchange U.S.

dollars for another currency, and arrange to send that currency by wire transfer to a recipient

overseas. Wells Fargo would quote an exchange rate for the amount and type of currency, which

the customer could accept or reject.

       17.     Generally, Wells Fargo disclosed only the "all in" FX rate to the customer,

meaning Wells Fargo disclosed only the final FX rate, not the underlying market rate or the




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spread/sales margin the Bank was charging for the transaction. Accordingly, it was difficult for

customers with fixed-pricing agreements to verify that the Bank was in fact charging the

represented sales margin on these transactions.

        18.    When Wells Fargo received incoming wire transfers for its customers, referred to

internally as "BSwift" wires, Wells Fargo frequently did not offer customers an exchange rate

that they could accept or reject before executing the transaction. Furthermore, Wells Fargo

frequently did not inform customers of the time when Wells Fargo had received and converted

the BSwift wires. Rather, Wells Fargo would execute the FX transaction and later notify

customers of the FX rate it had applied. Without knowing when Wells Fargo received the wire

transfers, or when the Bank executed the transactions, it was even more difficult for customers to

verify whether Wells Fargo was imposing spreads/sales margins that were consistent with its

pricing representations.

                     WELLS FARGO'S SCHEME TO DEFRAUD·
                FX CUSTOMERS WITH FIXED-PRICING AGREEMENTS

       A.      Wells Fargo Fraudulently Charged Customers Higher Spreads or
               Sales Margins Than It Represented

       19.     During the Covered Period, many Wells Fargo FX sales specialists systematically

and fraudulently overcharged hundreds of the Bank's commercial customers by repeatedly

applying larger sales margins or spreads to customer FX transactions than they represented the

Bank would charge and/or was charging.

       20.     As reflected by the entries and information in Wells Fargo's own internal CMR

database, FX sales specialists routinely defrauded customers by charging higher spreads on FX

transactions than the Bank represented in fixed-pricing agreements or otherwise. The CMR

notes plainly reveal that while customers thought they would receive and/or were receiving the




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rate that the Bank represented to customers, the Bank in fact was surreptitiously charging the

customers higher spreads. Indeed, Wells Fargo FX sales specialists routinely charged customers

spreads that were as high as they thought they could get away with.

         21.     For example, Wells Fargo agreed to charge Customer A a spread of 25 pips 1 on

certain FX trades. However, the notes in the CMR database show that, contrary to this

agreement, the Bank would actually charge a spread of 30-35 pips "if possible." Customer A did

not realize that it was being charged a higher spread than what the Bank had represented.

Indeed, the FX specialist noted in the CMR database that "customer still thinks pricing is the

same."

         22.    Another CMR note concerning Customer B indicated that the Bank was

fraudulently charging the customer "0.18 pips," despite the fact that the "customer thinks they

are only charged 15pips." A third CMR note indicated that the Bank was fraudulently charging

Customer C a spread of 1.4%, but that Customer C thought the Bank was charging a spread of

only 1.25%.

         23.    CMR notes also showed that sometimes, rather than adhering to agreements with

customers to apply a fixed spread to a market rate for a currency pair at the time of the

transaction, FX sales specialists would instead assign the least favorable price to the customer

from the range of market price fluctuations during the trading day up until the time of the

transaction. This practice was sometimes referred to as "range of day" pricing. Through this

practice, FX sales specialists were able to take advantage of customers and generate larger

spreads on FX transactions. Sometimes, the FX sales specialists would choose either the range-



1
  A "pip," short for "point in percentage," is a standardized unit representing the smallest amount by
which a currency pair can change. It is usually 0.0001 for currencies quoted in U.S. dollars; thus, 25 pips
on such a pair would equal 0.0025.


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of-day price or apply an inflated spread to a current market price depending on which pricing

scenario was more favorable to the Bank. In other instances, FX sales specialists would use the

range-of-day price as an outer boundary or cap on the amount to overcharge customers.

        24.    For example, in a CMR note concerning Customer D, an FX sales specialist wrote

after the word "External," that Customer D and the Bank "agreed to .25%" as the spread that the

Bank would apply to Customer D's FX transactions. Nevertheless, contrary to this agreement,

the CMR note indicates that the Bank would fraudulently charge a spread of between 0.30% and

0.50% not to exceed the range of the day, explicitly stating: "INTERNAL: Spread .30% OR

range whatever is greater but ***Don't take more than .50% with range cap***".

       25.     Similarly, an FX sales specialist noted with respect to Customer A that for certain

transactions, the bank would "stay within [the]range of the day" and that if the transaction was

"large," the bank "c[ould] take up to 25 pips from [the] high of the day."

       26.     In certain instances, when customers contacted the Bank to inquire about higher-

than-agreed-upon pricing, FX sales specialists would give false explanations for the prices, such

as "time fluctuations," meaning fluctuations in price during the day, or other supposed events in

the market that purportedly caused a change in the exchange rate.

       B.      Wells Fargo Provided Customers False Market Data in Order to Conceal
               Overcharges Imposed on FX Transactions

       27.     FX sales specialists sometimes provided customers false transaction data in order

to conceal overcharges that they applied to FX transactions. Specifically, to create a false

impression that the Bank had applied the represented fixed spread when it had not done so, FX

sales specialists sometimes supplied false underlying FX market rates and spread calculations.

       28.     For example, in one instance, an FX sales specialist represented to Customer E

that the Bank would charge a spread of 15 basis points for all transactions below $100,000, and a



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spread of 5 basis points for all transactions above $100,000. Contrary to this agreement, the

Bank fraudulently charged higher-than-agreed-upon spreads on a series of FX transactions.

Then, in email correspondence with representatives of Customer E, the FX sales specialist

provided inaccurate underlying market rate information and spread calculations to the customer

to make the FX spread falsely appear consistent with the agreement terms.

       29.     In another example, an FX sales specialist agreed to apply a 50 basis point spread

to Customer F's FX transactions. However, the FX sales specialist fraudulently applied spreads

of more than 50 basis points to a series of Customer F's transactions and then provided

inaccurate underlying market rate information to Customer F to make the FX spread falsely

appear consistent with the agreement terms.

       C.      Wells Fargo Used the "Big Figure Trick" to Defraud Customers

       30.     For some customers, FX sales specialists also used what they internally called the

"big figure trick" or the "transposition error game" to increase the FX sales margin and their

profits. To carry out this scheme, the FX specialist would intentionally transpose the digits in the

price of the transactions in a way that would result in the customers paying Wells Fargo a higher

spread or sales margin.

       31.     For example, hypothetically, if the actual correct price to purchase a Euro was

1.0123 dollars, an FX sales specialist would use the big figure trick to switch the price to 1.0213

dollars, thus taking more spread (in this example, an additional 89 basis points) from the

customer.

       32.     If the customer actually caught the error, the FX sales specialist would falsely

claim that it was simply a mistake.




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        33.     One FX sales specialist explained in an internal communication with colleagues:

"You can play the transposition error game if you get called out." Another FX sales specialist

noted to a colleague regarding a previous transaction that a customer "didn't flinch at the big fig

the other day. Want to take a bit more?"

        D.     Wells Fargo Took Particular Advantage of Unsophisticated Customers

        34.    At times, Wells Fargo's FX sales specialists charged the same customer different

spreads depending on which representative of the customer happened to be involved in executing

the trade. Specifically, Wells Fargo's FX sales specialists would charge larger spreads on

transactions requested by certain customer representatives thought to be less sophisticated or

experienced in FX trading.

       35.     Wells Fargo was able to charge larger spreads on FX transactions initiated by

particular customer representatives because the Bank's online trading platforms identified the

individuals who were requesting FX trades. This practice was referred to internally at Wells

Fargo as "user-based pricing."

       36.     For example, an FX sales specialist consistently charged Customer G significantly

larger spreads than the parties had agreed upon. However, when an employee of Customer G

who had a higher degree of sophistication or experience in FX trading was involved in executing

the transactions, the FX sales specialist charged smaller spreads (albeit still sometimes larger

than the agreed-upon spread).

       E.      The BSwift "Piftata"

       37.     As noted above, because Wells Fargo generally did not provide immediate notice

to customers when they received incoming wires, known as BSwifts, Wells Fargo's FX sales




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specialists took advantage of this time delay to charge higher spreads than the Bank had

represented it would.

        3 8.   One method used by FX sales specialists to extract large sales margins on B Swift

transactions was to price them based on the range of the day. This practice allowed FX sales

specialists to generate even larger spreads on incoming wire transactions than on outgoing wires.

With outgoing wires, FX sales specialists could select the best price for the Bank and the worst

price for the customer only from the beginning of the trading day up until the time of the

transaction. However, with BSwift wires, because the customers generally did not know when

the funds arrived in their accounts or when they were converted, the FX sales specialist could

wait until the end of the day and cherry-pick the best rate for the Bank and the worst rate for the

customer from the entire trading day.

       39.     In a written instant message to a colleague, an FX sales specialist analogized this

fraudulent scheme to getting candy from a pifiata, referring to the Bank's pricing ofBSwift wire

transfers as the "BSWIFT pinata."

       40.     Another FX sales specialist observed in an internal email communication that

customers would not notice these overcharges on BSwift wires. He wrote, after noting that he

"bumped spreads up a pinch," that "these clients who are in the mode of just processing wires

will most likely not notice this slight change in pricing" and that it "could have a very quick

positive impact on revenue without a lot of risk." For example, in a CMR note concerning

Customer H, an FX sales specialist documented a "[r]ate agreement" under which the customer

would be charged 10 basis points on incoming wires. However, contrary to this agreement,

Wells Fargo charged Customer H higher spreads for incoming wires. Indeed, the FX sales

specialist acknowledged in a note recorded in the CMR database that "if good ranges I may want




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to take a bit more." The FX sales specialist also gave an instruction that while she was traveling,

the FX sales specialist covering the client should use the "range of day" and "big figure" pricing.

        41.    Another FX sales specialist noted in a recorded call with a colleague that she

preferred to book her own BSwifts so that she could take more spread because she was doing the

pricing herself. She observed that she could "dance around it" if the customer called with

questions.

        F.     Wells Fargo Created an Atmosphere that Facilitated the Fraud

        42.    By giving improper financial incentives to FX sales specialists to prioritize

maximizing FX revenue over all else, while simultaneously providing no meaningful or effective

oversight to prevent its employees from fraudulently overcharging customers, Wells Fargo

created a work environment in which defrauding or otherwise taking advantage of customers

became normal business practice.

        43.    Wells Fargo incentivized its FX sales specialists to generate as much FX sales

revenue as possible by tying their bonuses exclusively to the amount of sales revenue they

generated for the Bank from FX transactions. Specifically, before 2017, Wells Fargo paid

bonuses to FX sales specialists based solely upon the percentage of the FX sales revenue that

each FX sales specialist and FX desk generated. Each year during the Covered Period, Wells

Fargo paid hundreds of thousands of dollars in bonuses to various FX sales specialists based on

FX revenue. Some FX sales specialists received bonus compensation exceeding $1 million in a

single year.

       44.     Compounding these improper financial incentives, prior to 2017, Wells Fargo

failed to put any meaningful or effective safeguards in place to ensure that FX sales specialists




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priced customer FX transactions in accordance with the terms represented in fixed-pricing

agreements.

        45.    For example, Wells Fargo: (a) had no meaningful or effective policies or

procedures governing how fixed-pricing agreements should be negotiated, memorialized,

recorded, or implemented; (b) provided no training to FX sales specialists concerning fixed-

pricing agreements; (c) had no meaningful or effective process to systematically track the

existence or terms of fixed-pricing agreements; (d) had no systemic mechanism in place to

monitor whether FX sales specialists were pricing FX transactions in a manner that was

consistent with fixed-pricing agreements; (e) did not implement any electronic safeguards that

would have prevented FX sales specialists from pricing transactions in a manner that deviated

from fixed-pricing agreements; and (f) did not conduct any audits or reviews ofFX transactions

to determine whether FX pricing matched fixed-pricing agreements.

       46.     As a result of the improper incentives and lack of oversight, a culture developed

in which Wells Fargo FX sales specialists were comfortable repeatedly defrauding the Bank's

customers. FX sales specialists openly discussed and even celebrated transactions resulting in

larger FX spreads than agreed to with customers and transactions generating large FX revenue.

       47.     For example, FX sales specialists on Wells Fargo's San Francisco FX desk would

celebrate transactions with large spreads or sales margins by ringing a bell located on the trading

floor. Other FX sales specialists would use expressions such as, "back the truck up," and "when

in doubt, spread them out," to jokingly describe how Wells Fargo and its FX sales specialists

were making large sums at the expense of the Bank's customers. Another FX sales specialist

referred to Wells Fargo's FX sales group as a "bucket shop."

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        48.     As a result of the foregoing fraudulent scheme, Wells Fargo unlawfully obtained

millions of dollars from customers with fixed-pricing agreements.

        G.      The Fraud Involved Interstate Mail and Wires, and Affected Federally-
                Insured Financial Institutions

        49.     Wells Fargo FX sales specialists accomplished this scheme to defraud its

commercial customers by developing and communicating the fraudulent representations and

other statements alleged herein utilizing interstate mail carriers and interstate wires, including,

but not limited to, emails, telephones, facsimiles, and the internet.

        50.    The fraud perpetrated by Wells Fargo described herein affected many federally-

insured financial institutions and/or their affiliates who had fixed-pricing agreements with the

Bank. Specifically, as alleged above, Wells Fargo defrauded the 771 Customers by repeatedly

charging these customers higher spreads than Wells Fargo FX sales specialists represented that

the Bank would charge in fixed-pricing agreements or otherwise. A number of the customers are

federally-insured financial institutions or affiliates of such institutions whom Wells Fargo

fraudulently overcharged.

       51.     Wells Fargo, which itself is a federally-insured financial institution, has also been

affected by the fraud the Bank perpetrated, through its employees, on its commercial customers

who used the Bank's FX service. In particular, this fraudulent conduct exposed Wells Fargo to

loss and increased risk of loss associated with, among other things, litigation with customers

and/or shareholders, administrative, civil, and/or criminal liability to governmental entities,

reputational harm, loss of customer goodwill, and negative impacts to stock price.




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                                     CLAIMS FOR RELIEF

                 Count I: Civil Penalties under 12 U.S.C. § 1833a (FIRREA)

               Violations of 18 U.S.C. §§ 1341 and 1343 (Mail and Wire Fraud)
                      Affecting a Federally-Insured Financial Institution

        52.    The allegations in each of the foregoing paragraphs are realleged and incorporated

in this paragraph by reference.

        53.    Wells Fargo devised and engaged in a scheme or artifice to defraud the Customers

or obtain money or property from the Customers by means of false or fraudulent pretenses,

representations, or promises, for the purpose of executing such scheme or artifice.

        54.    Specifically, Wells Fargo defrauded the Customers by falsely representing to the

Customers in fixed-pricing agreements or otherwise that the Bank would charge and/or was

charging certain fixed FX spreads or sales margins on the Customers' FX transactions with the

Bank, while systematically charging the Customers higher spreads or sales margins and

concealing such overcharges from the Customers. Wells Fargo's representations and/or

promises concerning the spreads or sales margins the Bank would charge and/or was charging on

the Customer's FX transactions were material. In perpetrating this scheme or artifice to defraud,

Wells Fargo acted knowingly, willfully, intentionally, with deliberate indifference to the truth,

and/or with the intent to harm the Customers by unlawfully obtaining their money or property.

Wells Fargo used interstate mail carriers and interstate wires in connection with the scheme or

artifice to defraud the Customers in violation of the mail and wire fraud statutes, 18 U.S.C. §§

1341 and 1343.

       55.     Wells Fargo's violations of the mail and wire fraud statutes have affected a

number of federally-insured financial institutions and/or their affiliates, including a number of

Customers who were defrauded by the Bank, as well as Wells Fargo itself, which has been



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exposed to loss and increased risk of loss associated with liabilities to governmental entities,

liabilities to customers, reputational harm, loss of customer goodwill, and negative impacts to

stock price.

        56.     Accordingly, Wells Fargo is liable for civil penalties to the United States in the

maximum amount authorized under 12 U.S.C. § 1833a.

                 Count II: Civil Penalties under 12 U.S.C. § 1833a {FIRREA)

                          Violations of 18 U.S.C. § 1344 (Bank Fraud)

        57.     The allegations in each of the foregoing paragraphs are realleged and incorporated

in this paragraph by reference.

        58.     Wells Fargo lmowingly executed a scheme or artifice to defraud financial

institutions and/or to obtain the moneys, funds, assets, or other property owned by, or under the

custody or control of, financial institutions, by means of false or fraudulent pretenses,

representations, or promises.

        59.    Specifically, Wells Fargo defrauded the Customers, a number of which are

financial institutions, by falsely representing to them in fixed-pricing agreements or otherwise

that the Bank would charge and/or was charging certain fixed FX spreads or sales margins on the

Customers' FX transactions with the Bank, while systematically charging the Customers higher

spreads or sales margins and concealing such overcharges from the Customers. Wells Fargo's

representations and/or promises concerning the spreads or sales margins the Bank would charge

and/or was charging on the Customer's FX transactions were material. In perpetrating this

scheme or artifice to defraud Customers that are financial institutions, Wells Fargo acted·

knowingly, willfully, intentionally, with deliberate indifference to the truth, and/or with the




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intent to harm these Customers by unlawfully obtaining their money or property in violation of

the bank fraud statute, 18 U.S.C. § 1344.

         60.      Accordingly, Wells Fargo is liable for civil penalties to the United States in the

maximum amount authorized under 12 U.S.C. § 1833a.

                                       REQUESTED RELIEF

         WHEREFORE, the United States requests judgment against Defendant as follows:

         (i) With respect to Count I, seeking civil penalties under FIRREA for violations of the

mail and wire fraud statutes affecting a federally-insured financial institution, a judgment

imposing civil penalties against Defendant up to the maximum amount allowed by law;

         (ii) With respect to Count II, seeking civil penalties under FIRREA for violations of the

bank fraud statute, a judgment imposing civil penalties against Defendant up to the maximum

amount allowed by law; and

         (iii) For costs of suit and such further relief that the Court deems just and proper.

Dated:         September 27, 2021
               New York, New York

                                                Respectfully submitted,

                                                AUDREY STRAUSS
                                                United States Attorney
                                                Southern District of New York

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